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       UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK


                                                      Plaintiff,
        MANHATTAN SAFETY MAINE, INC.
        and RECOVERY EFFORT, INC.,
                                                                    Case No. -19-5642
                                                                                - -----
                               -v-
        MICHAEL BOWEN, ARIE GENGER, ARNOLD
                                                                        Rule 7 .1 Statement
        BROSER, DAVID BROSER, individually and as
        trustee of the GENGERLITIGATION TRUST, ABDG
        LLC, TEDCO, INC., and JOHN DOES 1-10
                                                      Defendant.




                   Pursuant to Federal Rule of Civil Procedure 7.1 [formerly Local
     General Rule 1.9] and to enable District Judges and Magistrate Judges of the Court
     to evaluate possible disqualification or recusal, the undersigned counsel for
      Plaintiffs                                          (a private non-governmental party)

     certifies that the following are corporate parents, affiliates and/or subsidiaries of
     said party, which are publicly held.

      None.




               June 17, 2019
     Date:



                                                           Attorney Bar Code: MW7734




Form Rule7_1.pdf SDNY Web 10/2007
